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                         ATTACHMENT 8

           FTI DTDF December 2006 Monthly Statement
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January 25, 2007



USA Commercial Mortgage Company
4484 South Pecos Road
Las Vegas, NV 89121

Attention:         LeAnn Weese, Controller

RE:      FTI Consulting, Inc. (“FTI”), December 2006 Monthly Statement
         USA Commercial Mortgage Company, et al; Jointly Administered under Case No. BK-S-06-10725 LBR

Enclosed please find FTI Consulting, Inc.’s monthly statement for professionals fees for services rendered and
reimbursement of expenses incurred as Financial Advisors for the Official Committee of Equity Security Holders of
USA Capital Diversified Trust Deed Fund, LLC for the period December 1, 2006 through December 31, 2006.

Copies of this monthly statement have been provided via email to all parties listed on the attached distribution list.

If you should have any questions regarding our monthly statement, please do not hesitate to call Chas Harvick at
602.744.7186 or me at 602.744.7144.

Sincerely,




Michael A. Tucker
Senior Managing Director

Enclosures
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DISTRIBUTION:

Debtor
         LeAnn Weese, USA Commercial Mortgage Company
         Susan M. Smith, Mesirow Financial, Inc.

Debtor’s Counsel
        Annette W. Jarvis, Esq., Ray Quinney & Nebeker P.C.
        Lenard E. Schwartzer, Esq., Schwartzer & McPherson Law Firm

Counsel for Official Committee of Unsecured Creditors of USA Commercial Mortgage Company
        Susan M. Freeman, Esq., Lewis and Roca, LLP
        Rob Charles, Esq., Lewis and Roca, LLP

Counsel for Official Committee of Holders of Executory Contract Rights of USA Commercial Mortgage Company
        Gerald M. Gordon, Esq., Gordon & Silver, LTD.
        Gregory E. Garman, Esq., Gordon & Silver, LTD.

Counsel for Official Committee of Equity Security Holders of USA Capital Diversified Trust Deed Fund, LLC
        Marc A. Levinson, Esq., Orrick, Herrington & Sutcliffe LLP
        Anne M. Loraditch, Esq., Beckley Singleton CHTD.

Counsel for Official Committee of Equity Security Holders of USA Capital First Trust Deed Fund, LLC
        Frank A. Merola, Esq., Stutman Treister & Glatt, P.C.
        Eve H. Karasik, Esq., Stutman Treister & Glatt, P.C.

Office of the U.S. Trustee – District of Nevada
         August B. Landis, Assistant United States
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                                                                                FTI Consulting, Inc.
                                                                               Two North Central Avenue
                                                                               Suite 1200
                                                                               Phoenix, Arizona 85004

                                                                               602.744.7100 Telephone
                                                                               602.744.7110 Facsimile




RE:     USA Commercial Mortgage Company
        USA Capital Diversified Trust Deed Fund, LLC
        USA Capital First Trust Deed Fund, LLC
        USA Capital Realty Advisors, LLC
        USA Securities, LLC

        Jointly Administered under Case No. BK-S-06-10725-LBR

Date:   January 25, 2007


        Debtor Entity – USA Capital Diversified Trust Deed Fund, LLC

For professional services rendered from December 1, 2006 through December 31, 2006

Total Current Fees                                                                     $   135,789.00
Total Current Expenses                                                                       2,030.55

Total Current Fees and Expenses                                                        $   137,819.55

Eighty Percent of Total Current Fees                                                    $ 108,631.20
One Hundred Percent of Total Current Expenses                                               2,030.55

Total Amount Due this Statement                                                        $   110,661.75


SEE DETAIL ATTACHED.




                   PLEASE REMIT PAYMENT TO:
                     Bank of America                      FTI Consulting, Inc.
                     ABA #026009593                       P.O. Box 631916
                     In favour of:                        Baltimore, MD 21263-1916
                     FTI Consulting, Inc.                 FED ID#XX-XXXXXXX
                     Account #003939577164


NOTE: There may be expenses that were incurred during this billing cycle that are not reflected in this
monthly statement but will appear in subsequent monthly statements because of the unavoidable delay in
posting some disbursements.
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                       USA Capital Diversified Trust Deed Fund
                                   Summary Exhibit A
                             Total Hours, Fees and Expenses
                     For the Period of 12/1/2006 through 12/31/2006
Consultant      Level                Hours             Rate       Fees     Expenses       Total

Tucker, M.     Sr. Managing Dir.     174.9       $450         78,705.00    1,516.11   80,221.11

Harvick, C.    Director              140.1       $375         52,537.50      514.44   53,051.94

Schwartz, J.   Senior Consultant          0.4    $295           118.00         0.00      118.00

Peterson, L.   Senior Consultant          7.5    $295          2,212.50        0.00    2,212.50

Smith, S.      Paraprofessional          22.8     $95          2,166.00        0.00    2,166.00

Evans, J.      Assistant                  1.0     $50            50.00         0.00       50.00

Grand Total                           346.7               $135,789.00     $2,030.55 $137,819.55




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                            USA Capital Diversified Trust Deed Fund
                                      Summary Exhibit B
                      Time Charges Incurred by Professional by Activity Code
                         For the Period of 12/1/2006 through 12/31/2006
Consultant                                                                Hours                Fees
Asset Analysis and Recovery
     Harvick, C.                                                            12.5            4,687.50
     Peterson, L.                                                            4.2            1,239.00
     Smith, S.                                                               1.9              180.50
     Tucker, M.                                                             20.8            9,360.00

     Total for Asset Analysis and Recovery:                                 39.4           15,467.00


Asset Sale
     Harvick, C.                                                             7.5            2,812.50
     Tucker, M.                                                             31.5           14,175.00

     Total for Asset Sale:                                                  39.0           16,987.50


Case Administration
     Harvick, C.                                                             3.2            1,200.00
     Peterson, L.                                                            0.3              88.50
     Smith, S.                                                               1.0              95.00
     Tucker, M.                                                              0.4             180.00

     Total for Case Administration:                                          4.9            1,563.50


Claims Administration and Objections
     Harvick, C.                                                             0.9             337.50
     Tucker, M.                                                              0.8             360.00

     Total for Claims Administration and Objections:                         1.7             697.50


Collection Account Distributions and Related Disputes
     Harvick, C.                                                             1.2             450.00

     Total for Collection Account Distributions and Related Disputes:        1.2             450.00


Court Hearings
     Harvick, C.                                                            17.1            6,412.50
     Tucker, M.                                                             15.3            6,885.00

     Total for Court Hearings:                                              32.4           13,297.50


Employment/Fee Applications
     Harvick, C.                                                             6.5            2,437.50
     Schwartz, J.                                                            0.4             118.00
     Smith, S.                                                              14.6            1,387.00
     Tucker, M.                                                              2.2              990.00




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Consultant                                                             Hours                Fees

     Total for Employment/Fee Applications:                              23.7            4,932.50


Financing
     Harvick, C.                                                          0.7              262.50
     Tucker, M.                                                           0.2               90.00

     Total for Financing:                                                 0.9              352.50


IP/10-90/Ashby Recovery
     Evans, J.                                                            1.0               50.00
     Harvick, C.                                                         27.7           10,387.50
     Peterson, L.                                                         2.8              826.00
     Smith, S.                                                            1.5              142.50
     Tucker, M.                                                          25.2           11,340.00

     Total for IP/10-90/Ashby Recovery:                                  58.2           22,746.00


Meetings & Communications with Diversified Committee
     Harvick, C.                                                          2.9            1,087.50
     Tucker, M.                                                           6.1            2,745.00

     Total for Meetings & Communications with Diversified Committee:      9.0            3,832.50


Plan and Other Restructure Related Work
     Harvick, C.                                                         59.9           22,462.50
     Peterson, L.                                                         0.2               59.00
     Smith, S.                                                            3.8              361.00
     Tucker, M.                                                          72.4           32,580.00

     Total for Plan and Other Restructure Related Work:                 136.3           55,462.50


Grand Total                                                             346.7        $135,789.00




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                                USA Capital Diversified Trust Deed Fund
                                           Summary Exhibit C
                            Detailed Time Charges Incurred by Activity Code
                          For the Period of 12/1/2006 through 12/31/2006
Date        Consultant         Description                                                  Hours        Fees

Asset Analysis and Recovery
12/1/2006   Harvick, C.        Participate in call with M. Levinson, J. Herman, M.            1.1      412.50
                               Tucker and Debtor professionals to discuss Investors
                               VI, Tree Moss Partners, Colt and meetings with J.
                               Milanowski.

12/1/2006   Harvick, C.        Review Diversified Trust Deed Funds 2003 draft audit           0.6      225.00
                               report; prepare and send e-mail providing Debtor and
                               Diversified Trust Deed Fund team with information on
                               Tree Moss Partners including December 31, 2005
                               financials of Tree Moss Partners and Diversified Trust
                               Deed Fund.

12/1/2006   Harvick, C.        Compile and send S. Strong information on Investors            0.3      112.50
                               VI.

12/1/2006   Harvick, C.        Follow up conference call with M. Levinson, J.                 0.5      187.50
                               Hermann and M. Tucker regarding call with T. Allison
                               on Colt, EPIC and Sheraton assets.

12/1/2006   Tucker, M.         Research Colt issues and proposed deal from Colt.              0.8      360.00

12/1/2006   Tucker, M.         Follow up conference with M. Levinson, J. Hermann              0.5      225.00
                               and C. Harvick regarding call with T. Allison on Colt,
                               EPIC and Sheraton assets.

12/1/2006   Tucker, M.         Conference with T. Allison, A. Jarvis, S. Strong, M.           1.1      495.00
                               Pugsley, M. Levinson, J. Hermann and C. Harvick on
                               Colt, EPIC and Sheraton issues and next steps to
                               protect asset recoveries and current borrower
                               proposals.

12/3/2006   Tucker, M.         Preliminary review of Colt operating agreement and             0.9      405.00
                               amended operating agreement noting capital
                               contribution issues.

12/4/2006   Tucker, M.         Review draft Involuntary Petition for Tree Moss and            2.8     1,260.00
                               supporting documents.

12/5/2006   Harvick, C.        Participate in call (part) with S. Strong, M. Levinson, J.     1.2      450.00
                               Hermann, M. Tucker and E. Monson regarding
                               revisions to Tree Moss involuntary filing and request
                               for a Trustee; review and e-mail documents regarding
                               same.

12/5/2006   Harvick, C.        Review of Colt Gateway Second Amended Operating                1.6      600.00
                               Agreement and Exhibits, compare exhibits to loan
                               documents and e-mail Debtor and Diversified Trust
                               Deed Fund professionals regarding same.

12/5/2006   Harvick, C.        Review of Involuntary Petition for Tree Moss and               0.7      262.50
                               review EPIC documents regarding same.




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Date        Consultant    Description                                               Hours       Fees

Asset Analysis and Recovery
12/5/2006   Harvick, C.   Prepare Colt October Committee Report for purposes          0.3      112.50
                          of verifying that the amount of principal and interest
                          advancements were divided appropriately among
                          Lenders.

12/5/2006   Tucker, M.    Conference with M. Levinson, J. Hermann, C. Harvick         1.8      810.00
                          (part), E. Monson and S. Strong regarding filing Tree
                          Moss Involuntary Petition.

12/5/2006   Tucker, M.    Review exhibit to Colt operating agreement that is          0.5      225.00
                          consistent with debt provided by Diversified Trust
                          Deed Fund and e-mail on same by C. Harvick.

12/5/2006   Tucker, M.    Review and reply to S. Tingey e-mail regarding              0.3      135.00
                          BySyngery and getting information from borrower.

12/5/2006   Tucker, M.    Research support and draft e-mails to A. Jarvis on          1.1      495.00
                          Tree Moss and Investors VI involuntary petitions.

12/6/2006   Tucker, M.    Review T. Allison declaration for Tree Moss                 0.3      135.00
                          involuntary and review revised pleadings.

12/9/2006   Tucker, M.    Obtain actual filed Tree Moss involuntary petition and      0.5      225.00
                          motion for Trustee documents.

12/11/2006 Peterson, L.   Prepare summary of Mesirow's memo regarding                 0.7      206.50
                          Amesbury.

12/11/2006 Tucker, M.     Review Tree Moss filing.                                    0.4      180.00

12/11/2006 Tucker, M.     Analysis of Colt documents produced by Mesirow and          1.2      540.00
                          review appraisal; draft emails on same to Mesirow.

12/13/2006 Tucker, M.     Review draft Investors VI motion for Trustee and            0.5      225.00
                          related e-mails.

12/15/2006 Harvick, C.    Review and send e-mails regarding the filing the            0.1       37.50
                          involuntary for Investors VI.

12/15/2006 Harvick, C.    Review and edit Motion of Diversified Trust Deed            1.2      450.00
                          Fund for an Order Restricting Investors VI's Business
                          Operations During the Gap Period or Alternatively for
                          the Appointment of a Trustee.

12/15/2006 Harvick, C.    Participate in call with M. Tucker and M. Levinson          0.3      112.50
                          regarding Tree Moss Involuntary and Investors VI
                          status.

12/15/2006 Peterson, L.   Updated Diversified Trust Deed Fund weekly cash             0.5      147.50
                          collections through 12/1/06.

12/15/2006 Tucker, M.     Review of Investors VI documents for involuntary filing     1.9      855.00
                          including conference with M. Levinson and C. Harvick
                          and e-mail to E. Monson.

12/18/2006 Peterson, L.   Review and prepare schedule for Diversified Trust           0.2       59.00
                          Deed Fund's portion of the November Distribution
                          report.

12/18/2006 Tucker, M.     Review actual filings in Investors VI Involuntary           0.5      225.00
                          Petition.




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Date       Consultant     Description                                               Hours       Fees

Asset Analysis and Recovery
12/18/2006 Tucker, M.     Analysis of potential recoveries from USA Commercial        0.4      180.00
                          Mortgage and method of recovery.

12/21/2006 Harvick, C.    Review Colt payoff statements and leave J. Atkinson         0.2       75.00
                          a voicemail regarding same.

12/21/2006 Tucker, M.     E-mail T. Allison on Colt Gateway issues and pay off        0.8      360.00
                          status; review documents provided by M. Haftl.

12/22/2006 Harvick, C.    Review e-mails regarding e-mail searches for Colt           0.1       37.50
                          and HFA documents.

12/22/2006 Tucker, M.     Review letter from J. Lisowski counsel on Tree Moss         0.1       45.00
                          issues.

12/26/2006 Harvick, C.    Review history of BySynergy requests and send e-            0.4      150.00
                          mail requesting status update and offering Diversified
                          Trust Deed Fund assistance.

12/26/2006 Tucker, M.     Conference call with S. Flett, attorney for Trustee (J.     2.1      945.00
                          Lisowski) in Tree Moss and Investors VI, on case
                          issues; send S. Flett e-mail on additional information
                          and contact information as well as Diversified Trust
                          Deed Fund professionals.

12/26/2006 Tucker, M.     Determine status of collection and information on           0.7      315.00
                          BySynergy loan and send e-mail to M. Levinson on
                          same.

12/27/2006 Harvick, C.    Review letter sent to BySynergy, send e-mail to             0.5      187.50
                          Diversified Trust Deed Fund team and discuss same
                          with J. Reed.

12/27/2006 Harvick, C.    Review Diversified Trust Deed Fund collection report        0.5      187.50
                          through December 15, 2006.

12/27/2006 Harvick, C.    Review of J. Lisowski motion to retain counsel and e-       0.5      187.50
                          mail regarding same.

12/27/2006 Harvick, C.    Review Investors VI docket and documents saved on           0.5      187.50
                          network for Investors VI.

12/27/2006 Harvick, C.    Review various case e-mails and documents                   0.5      187.50
                          regarding claims, recovery action and data provided
                          by Debtor. Save documents on network and prepare
                          action items regarding same.

12/27/2006 Peterson, L.   Update Diversified Trust Deed Fund cash collections         1.0      295.00
                          schedule thru December 15, 2006.

12/27/2006 Peterson, L.   Review Diversified Trust Deed Fund financial                0.3       88.50
                          statements to determine amount of EPIC and
                          Sheraton loans shown on books at petition date with
                          no allowance.

12/27/2006 Peterson, L.   Finalize schedule of Diversified Trust Deed Fund's          1.0      295.00
                          portion of the November and October Distribution
                          reports.

12/27/2006 Peterson, L.   Revise $18.9 million USA Commercial Mortgage                0.5      147.50
                          receivable interest calculation.




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Date         Consultant       Description                                               Hours        Fees

Asset Analysis and Recovery
12/27/2006 Smith, S.          Pull dockets for Tree Moss and Investors VI                 0.1         9.50
                              bankruptcy filings for C. Harvick review.

12/27/2006 Smith, S.          Review Tree Moss and Investors VI dockets to print          1.5      142.50
                              documents sought by C. Harvick and M. Tucker

12/27/2006 Tucker, M.         Review employment application of J. Lisowski Law            0.2       90.00
                              Firm and send questions on employment to A.
                              Loraditch.

12/28/2006 Harvick, C.        Continue to review various case e-mails and                 0.9      337.50
                              documents regarding claims, recovery action and
                              data provided by Debtor. Save documents on network
                              and prepare action items regarding same.

12/28/2006 Harvick, C.        Respond to J. Reed request for location of BySynergy        0.2       75.00
                              2004 examination.

12/28/2006 Harvick, C.        Review and discuss current Diversified Trust Deed           0.3      112.50
                              Collections with M. Tucker.

12/28/2006 Smith, S.          Organize documents from Tree Moss involuntary filing.       0.3       28.50

12/28/2006 Tucker, M.         Discuss current Diversified Trust Deed Fund                 0.1       45.00
                              collections with C. Harvick.

12/28/2006 Tucker, M.         Review and analysis of offer for Franklin-Stratford and     0.8      360.00
                              Interstate Commerce Center loans from T. Hansen.

12/28/2006 Tucker, M.         Follow up status of Colt Gateway collections including      0.4      180.00
                              e-mails to T. Allison and conference with S. Smith.

12/29/2006 Tucker, M.         Determine if Colt or TenNinety LTD paid off                 0.1       45.00
                              miscellaneous bills, etc.

Total for Asset Analysis and Recovery:                                                   39.4    15,467.00

Asset Sale
12/1/2006    Harvick, C.      Review of Desert Capital REIT's bid for First Trust         0.5      187.50
                              Deed Fund and USA Commercial Mortgage's assets.

12/1/2006    Tucker, M.       Participate in all Committee and Debtor conference          1.9      855.00
                              call on sale issues and bids received.

12/1/2006    Tucker, M.       Review numerous e-mails and motions related to              1.9      855.00
                              bidders bids, as well as bids from 2 bidders.

12/3/2006    Tucker, M.       Review numerous e-mails on issues with sale process         0.9      405.00
                              and bidders.

12/4/2006    Harvick, C.      Review opposition to emergency motion of SPSC.              0.2       75.00

12/4/2006    Harvick, C.      Review A. Jarvis and other related e-mails regarding        0.2       75.00
                              bidder qualifications and other auction issues.

12/4/2006    Tucker, M.       Participate in all Committee and Debtor call on sale        1.0      450.00
                              issues.

12/4/2006    Tucker, M.       Review potential bid candidates and letters from J.         0.5      225.00
                              Massa.

12/5/2006    Harvick, C.      Review A. Jarvis e-mail on status of Compass offer.         0.1       37.50


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Date         Consultant    Description                                                 Hours       Fees

Asset Sale
12/5/2006    Harvick, C.   Participate in call with M. Levinson, M. Tucker and J.        0.4      150.00
                           Hermann to discuss Compass and Desert Capital
                           Offers and related issues.

12/5/2006    Harvick, C.   Review of Debtors Estimated Recovery of USA                   0.5      187.50
                           Commercial Mortgage under Silverpoint bid vs. the
                           Compass offer and call with M. Haftl regarding same.

12/5/2006    Harvick, C.   Review of Compass Partners revised bid and discuss            0.4      150.00
                           same with M. Tucker.

12/5/2006    Harvick, C.   Review: Notice of Appeal filed on November 11, 2007;          0.2       75.00
                           Order Shortening Time for Hearing on Emergency
                           Motion of SPCP Group to Compel Compliance; Ex-
                           Parte Application to File Direct Lender Detailed
                           Information Under Seal; Declaration of Ann M.
                           Loraditch and Third Supplemental Statement of
                           Disinterestedness of Beckley Singleton.

12/5/2006    Harvick, C.   Participate in call with S. Smith, T. Burr, M. Kvarda, M.     0.4      150.00
                           Haftl and B. Fasel to discuss Compass Partners
                           revised bid and USA Commercial Mortgage assets.

12/5/2006    Tucker, M.    Participate in all Committee and Debtor call on sale          0.4      180.00
                           issues.

12/5/2006    Tucker, M.    Participate in call with M. Levinson, C. Harvick and J.       0.4      180.00
                           Hermann to discuss Compass and Desert Capital
                           Offers and related issues.

12/5/2006    Tucker, M.    Review reply to D. Congelosi opposition to sale and           0.3      135.00
                           prepare various e-mails to edit and comment on same.

12/5/2006    Tucker, M.    Analysis of final Compass Asset Purchase                      0.7      315.00
                           Agreement, review with C. Harvick and send e-mail to
                           A. Jarvis regarding Commercial Mortgage asset
                           definition.

12/5/2006    Tucker, M.    Review revised Asset Purchase Agreement for                   1.7      765.00
                           Compass and Consolidated; discuss same with B.
                           Fasel and J. Reed.

12/5/2006    Tucker, M.    Analysis of liquidation amounts under Silverpoint vs.         1.9      855.00
                           Compass and conference call on same with T. Burr,
                           M. Kvarda, S. Smith, M. Haftl and C. Harvick.

12/6/2006    Harvick, C.   Review reply to the Limited Opposition of the Sale.           0.2       75.00

12/6/2006    Harvick, C.   Prepare list of loans to be serviced by post-effective        0.6      225.00
                           date Diversified Trust Deed Fund and compare to
                           Schedule 2 of SPSC's Asset Purchase Agreement.

12/6/2006    Harvick, C.   Review various e-mails regarding the auction and              0.3      112.50
                           bidders.

12/6/2006    Harvick, C.   Participate in all hand Committee and Debtor call to          1.1      412.50
                           discuss the auction and bidders.

12/6/2006    Tucker, M.    Review e-mails and motions on Desert Mortgage and             0.6      270.00
                           Consolidated's qualifications and disclosure of P.
                           Hamilton.




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Date         Consultant     Description                                            Hours        Fees

Asset Sale
12/6/2006    Tucker, M.     Reply to A. Jarvis e-mail on loans excluded from         0.2       90.00
                            SPSC sale documents.

12/6/2006    Tucker, M.     Participate in all Committee and Debtor meeting and      2.3     1,035.00
                            conference call prior to bidding on sale.

12/6/2006    Tucker, M.     Review revised language to various Asset Purchase        0.4      180.00
                            Agreements and related e-mails; reply to same.

12/6/2006    Tucker, M.     Review USA Commercial Mortgage recovery                  0.3      135.00
                            schedule for sale of assets (received from T. Burr).

12/7/2006    Tucker, M.     Non working travel to Las Vegas for sale hearing.        2.1      945.00

12/7/2006    Tucker, M.     Non working travel to Phoenix from sale hearing in       2.9     1,305.00
                            Las Vegas.

12/7/2006    Tucker, M.     Participate in sale hearings and numerous related        9.2     4,140.00
                            negotiations.

12/14/2006 Tucker, M.       Review revised Asset Purchase Agreement and              0.5      225.00
                            schedules 1 and 2, send e-mail and respond to others
                            to/from M. Levinson on same.

12/15/2006 Harvick, C.      Review of Schedule 1 and 2 to the Final Compass          0.4      150.00
                            Partners Asset Purchase Agreement.

12/16/2006 Tucker, M.       Review declaration of D. Blatt regarding sale and        0.2       90.00
                            confirmation of Plan.

12/17/2006 Tucker, M.       Review motion to allocate sale overbids prepared by      0.3      135.00
                            R. Charles for USA Commercial Mortgage Committee
                            and related documents.

12/17/2006 Tucker, M.       Review various schedules, review and respond to          0.9      405.00
                            various e-mails on Schedule 3.2 to Asset Purchase
                            Agreement regarding fees transferred to Compass to
                            ensure exclusion of Diversified Trust Deed Fund loan
                            fees.

12/18/2006 Harvick, C.      Review e-mails and schedules regarding Asset             0.3      112.50
                            Purchase Agreement.

12/18/2006 Harvick, C.      Review filed Asset Purchase Agreement and                0.3      112.50
                            Amended Allison Declaration.

12/27/2006 Harvick, C.      Prepare analysis of Downtown Homes LLC offer for         1.4      525.00
                            Diversified Trust Deed Fund assets and send findings
                            to M. Tucker.

Total for Asset Sale:                                                               39.0    16,987.50

Case Administration
12/6/2006    Harvick, C.    Discuss workplan with L. Peterson.                       0.3      112.50

12/6/2006    Peterson, L.   Discuss workplan with C. Harvick.                        0.3       88.50

12/21/2006 Harvick, C.      Prepare post effective date Diversified Trust Deed       1.2      450.00
                            Fund workplan and discuss same with M. Tucker and
                            M. Levinson.




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Date        Consultant           Description                                             Hours       Fees

Case Administration
12/26/2006 Harvick, C.           Discuss workplan regarding recovery action, HMA           0.3      112.50
                                 Sales, post Diversified Trust Deed Fund and other
                                 matters with M. Tucker.

12/26/2006 Tucker, M.            Plan additional work and discuss same with C.             0.4      180.00
                                 Harvick.

12/28/2006 Harvick, C.           Review notes and prepare Post Effective Diversified       1.4      525.00
                                 Trust Deed Fund Workplan and update current task
                                 list.

12/28/2006 Smith, S.             Review USA docket for updated documents sought by         1.0       95.00
                                 M. Tucker and C. Harvick.

Total for Case Administration:                                                             4.9    1,563.50

Claims Administration and Objections
12/6/2006   Harvick, C.          Review of Walsh Complaint vs. USA Commercial              0.3      112.50
                                 Mortgage and e-mails regarding same; discussion
                                 with J. Hermann regarding same.

12/16/2006 Tucker, M.            Review several claims objections including Del            0.8      360.00
                                 Bunch, Binford Medical and others to establish non
                                 allowance on voting on Plan.

12/23/2006 Harvick, C.           Review US Trustee's Notice of Objections to various       0.4      150.00
                                 October fee applications.

12/27/2006 Harvick, C.           Review e-mails regarding proof of claim dates and         0.2       75.00
                                 send e-mail to A. Loraditch regarding same.

Total for Claims Administration and Objections:                                            1.7      697.50

Collection Account Distributions and Related Disputes
12/18/2006 Harvick, C.           Review of the November Disbursement Report and            0.9      337.50
                                 send e-mail to S. Smith regarding same.

12/27/2006 Harvick, C.           Review October and November Hold Funds Reports            0.3      112.50
                                 for Diversified Trust Deed Fund.

Total for Collection Account Distributions and Related Disputes:                           1.2      450.00

Court Hearings
12/15/2006 Harvick, C.           Call and set up dial-in information for USA               0.2       75.00
                                 Commercial Mortgage court hearing.

12/15/2006 Harvick, C.           Listen to USA Commercial Mortgage Court Hearing           1.5      562.50
                                 Telephonically.

12/15/2006 Tucker, M.            Participate in conference hearing on continued            0.4      180.00
                                 participation of Debtors professionals and other
                                 docketed items.

12/15/2006 Tucker, M.            Participate in court hearing on Tree Moss involuntary     0.8      360.00
                                 filing.

12/19/2006 Harvick, C.           Non-working travel to Las Vegas to attend USA             1.8      675.00
                                 Commercial Mortgage Plan Confirmation Hearing.



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Date        Consultant      Description                                                Hours        Fees

Court Hearings
12/19/2006 Harvick, C.      Prepare for and attend USA Commercial Mortgage               4.7     1,762.50
                            Plan Confirmation Hearing.

12/19/2006 Harvick, C.      Attend USA Commercial Mortgage Plan Confirmation             2.6      975.00
                            Hearing.

12/19/2006 Tucker, M.       Attend Plan confirmation hearing.                            8.7     3,915.00

12/20/2006 Harvick, C.      Attend USA Commercial Mortgage Plan Confirmation             2.5      937.50
                            Hearing and discuss same with M. Tucker and J.
                            Hermann.

12/20/2006 Harvick, C.      Non-working travel to Phoenix from Las Vegas after           2.4      900.00
                            confirmation hearing.

12/20/2006 Tucker, M.       Attend Plan confirmation hearing; discuss same with          2.6     1,170.00
                            C. Harvick and J. Hermann,

12/20/2006 Tucker, M.       Non working travel to Phoenix from confirmation              2.8     1,260.00
                            hearing.

12/28/2006 Harvick, C.      Attend court hearing telephonically regarding request        0.9      337.50
                            for Temporary restraining order of HMA Sales and
                            related parties.

12/28/2006 Harvick, C.      Discuss court hearing with M. Levinson.                      0.5      187.50

Total for Court Hearings:                                                               32.4    13,297.50

Employment/Fee Applications
12/6/2006   Smith, S.       Format November time.                                        3.5      332.50

12/7/2006   Smith, S.       Format November time; check grammar and spelling.            3.3      313.50

12/13/2006 Smith, S.        Review first fee application filing by Orrick for format     0.8       76.00
                            comparisons to FTI narrative.

12/18/2006 Harvick, C.      Review of November time detail for FTI interim fee           1.8      675.00
                            application.

12/18/2006 Harvick, C.      Review and edit FTI fee application.                         0.5      187.50

12/18/2006 Harvick, C.      Review of the November time detail for FTI interim fee       0.9      337.50
                            application.

12/19/2006 Harvick, C.      Review of November time detail for FTI interim fee           0.7      262.50
                            application and fax to S. Smith.

12/21/2006 Schwartz, J.     Assist S. Smith resolve printing issue encountered on        0.4      118.00
                            November reports.

12/21/2006 Smith, S.        Update FTI time for November for interim fee                 4.0      380.00
                            application; discuss print issues with J. Schwartz.

12/22/2006 Harvick, C.      Review Stipulation for fee applications and e-mails          0.3      112.50
                            regarding same.

12/22/2006 Harvick, C.      Confirm changes to FTI November time detail.                 1.1      412.50

12/22/2006 Smith, S.        Finalize edits to FTI November time and draft invoice        1.5      142.50
                            and cover letter.


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Date        Consultant       Description                                               Hours       Fees

Employment/Fee Applications
12/26/2006 Harvick, C.       Final review of November FTI time detail.                   0.5      187.50

12/26/2006 Harvick, C.       Discuss November FTI time detail and fee application        0.7      262.50
                             with M. Tucker.

12/26/2006 Smith, S.         Finalize November interim invoice.                          1.5      142.50

12/26/2006 Tucker, M.        Add additional information to the fee application text.     0.3      135.00

12/26/2006 Tucker, M.        Review November time for monthly billing and discuss        1.9      855.00
                             same with C. Harvick.

Total for Employment/Fee Applications:                                                  23.7    4,932.50

Financing
12/21/2006 Tucker, M.        Review operating reports noting unusual write down.         0.2       90.00

12/22/2006 Harvick, C.       Review Diversified Trust Deed Fund's November               0.6      225.00
                             Monthly Operating Report and send e-mail to S. Smith
                             regarding same.

12/27/2006 Harvick, C.       Review e-mail from S. Smith listing the amount and          0.1       37.50
                             detail for reserves reflected on Diversified Trust Deed
                             Fund's November Monthly Operating Report.

Total for Financing:                                                                     0.9      352.50

IP/10-90/Ashby Recovery
12/1/2006   Tucker, M.       Review e-mails from R. Walker regarding Investment          0.1       45.00
                             Partners settlement proposal process.

12/4/2006   Harvick, C.      Prepare analysis of Investment Partners' capital            1.8      675.00
                             contributions for Buffalo Land and Oak Mesa
                             Investors LLC's, including review of operating
                             agreements, tax returns and 10-90 funding detail.

12/4/2006   Tucker, M.       Analysis of Oak Valley transaction including review of      1.2      540.00
                             funding and cash flows and questions from T. Burr.

12/4/2006   Tucker, M.       Discuss case status and J. Milanowski's call to R.          0.7      315.00
                             Worthen with R. Worthen and M. Levinson.

12/5/2006   Harvick, C.      Call with P. Cheng regarding data request for Exhibit       0.2       75.00
                             B to Buffalo Land Company's operating agreement.

12/5/2006   Tucker, M.       Research support and draft e-mails to A. Jarvis on          0.4      180.00
                             motions and issues on Royal Hotel.

12/6/2006   Harvick, C.      Participate in call with M. Tucker and J. Hermann to        0.3      112.50
                             discuss new developments with HMA Sales, Tree
                             Moss Partners, and Investment Partners.

12/6/2006   Harvick, C.      Place call to P. McNicholas at Fiesta Development to        0.1       37.50
                             request information for Oak Valley.

12/6/2006   Harvick, C.      Review of 10-90 Loan History Report to confirm a            0.7      262.50
                             mistake in the reporting and e-mail S. Smith regarding
                             same.




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Date        Consultant    Description                                                Hours       Fees

IP/10-90/Ashby Recovery
12/6/2006   Harvick, C.   Review of Mesirow analysis and support for tracing           0.5      187.50
                          funds from Diversified Trust Deed Fund to HMA
                          Sales. Send e-mail to S. Smith regarding same.

12/6/2006   Harvick, C.   Review S. Freeman request for 10-90 tracing                  0.3      112.50
                          documentation, participate in call with T. Burr
                          regarding same and send request to S. Smith and P.
                          Cheng at Mesirow for additional documentation.

12/6/2006   Harvick, C.   Review numerous e-mails from M. Tucker regarding             0.1       37.50
                          collections efforts of 10-90 and $58 million note.

12/6/2006   Tucker, M.    Review reply to motion for protection order on               0.2       90.00
                          Investment Partners documents.

12/6/2006   Tucker, M.    Participate in call with C. Harvick and J. Hermann to        0.3      135.00
                          discuss new developments with HMA Sales, Tree
                          Moss Partners and Investment Partners.

12/11/2006 Peterson, L.   Review Investment Partners documents and group               2.8      826.00
                          documents into HMA Sales, Roripaugh, Oak Valley,
                          Stoneridge, Placer, Cabernet and Investment
                          Partners.

12/11/2006 Tucker, M.     Conference with A. Jarvis, E. Monson, M. Levinson            1.6      720.00
                          and J. Hermann regarding Investors VI, HMA Sales
                          and Tree Moss issues, depositions and document
                          productions.

12/21/2006 Harvick, C.    Discuss post Diversified Trust Deed Fund operations          0.4      150.00
                          and future Investment Partners litigation with M.
                          Tucker.

12/21/2006 Harvick, C.    Send e-mail to J. Reed regarding HMA Sales                   0.2       75.00
                          documents and discuss same and status of
                          Investment Partners documents with J. Reed.

12/21/2006 Harvick, C.    Send e-mail to J. Atkinson regarding HMA Sales               0.4      150.00
                          documents and discuss same with J. Atkinson.

12/21/2006 Tucker, M.     Discuss post Diversified Trust Deed Fund operations          0.4      180.00
                          and future Investment Partners litigation with C.
                          Harvick.

12/22/2006 Harvick, C.    Participate in call with M. Levinson and A. Loraditch        0.2       75.00
                          regarding the objection of the retention of Beadle.

12/22/2006 Harvick, C.    Call with M. Levinson and M. Tucker to discuss HMA           0.5      187.50
                          Sales and Ashby developments and strategy moving
                          forward.

12/22/2006 Harvick, C.    Prepare for and participate in call with M. Levinson, J.     1.1      412.50
                          Hermann, M. Tucker and A. Loraditch regarding HMA
                          Sales Great White lien being removed and potential
                          litigation.

12/22/2006 Harvick, C.    Participate in call with M. Levinson and A. Loraditch        0.3      112.50
                          regarding the objection of the retention of Beadle;
                          discuss same with M. Tucker.




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Date       Consultant     Description                                              Hours       Fees

IP/10-90/Ashby Recovery
12/22/2006 Harvick, C.    Review e-mails regarding the retainment of Beadle to       0.3      112.50
                          perform audit functions and confirm what services
                          they provided Diversified Trust Deed Fund; send e-
                          mail to Diversified Trust Deed Fund team regarding
                          same.

12/22/2006 Harvick, C.    Review multiple e-mails to set-up HMA Sales call and       0.2       75.00
                          send response.

12/22/2006 Harvick, C.    Prepare for and participate in call with P. McNicholas     1.3      487.50
                          at Fiesta Development to discuss current
                          developments for Roripaugh, Stoneridge, Oak Valley
                          and the payoff of Fiesta Development McNaughton
                          loan. Follow-up discussion with M. Tucker and e-mail
                          to Diversified Trust Deed Fund team and T. Allison
                          regarding same.

12/22/2006 Tucker, M.     Discussion with C. Harvick regarding his call with M.      0.2       90.00
                          Levinson and A. Loraditch regarding the objection to
                          the retention of Beadle.

12/22/2006 Tucker, M.     Conference call with J. Hermann, M. Levinson, C.           0.8      360.00
                          Harvick and A. Loraditch regarding HMA Sales Great
                          White lien being removed and potential litigation.

12/22/2006 Tucker, M.     Call with C. Harvick and M. Levinson to discuss HMA        0.5      225.00
                          Sales and Ashby developments and strategy moving
                          forward.

12/22/2006 Tucker, M.     Discussion with T. Allison on HMA Sales potential          0.4      180.00
                          litigation and closing.

12/22/2006 Tucker, M.     Review HMA Sales closing statement and related             0.4      180.00
                          documents.

12/23/2006 Harvick, C.    Participate in call with M. Levinson, M. Tucker, J.        0.7      262.50
                          Hermann and the Debtor professionals to discuss
                          HMA Sales litigation and lis pendens filing.

12/23/2006 Harvick, C.    Review and respond to e-mails regarding the                0.2       75.00
                          objection to USA Commercial Mortgage retention of
                          Beadle McBride.

12/23/2006 Tucker, M.     Participate in conference call with J. Hermann, M.         0.7      315.00
                          Levinson, C. Harvick, E. Monson, T. Allison and A.
                          Jarvis regarding HMA Sales litigation and lis pendens
                          filing.

12/23/2006 Tucker, M.     Review HMA Sales documents produced by HMA                 0.8      360.00
                          Sales at its 2004 exam.

12/25/2006 Harvick, C.    Review draft of HMA Sales Complainant and draft lis        1.4      525.00
                          pendens and comments from team, send comments
                          regarding same to team; discuss same with M. Tucker.

12/25/2006 Harvick, C.    Review of various HMA Sales documents (title report,       2.1      787.50
                          audits, financial statements, tax filings, operating
                          agreement, etc.) received from Investment Partners.

12/25/2006 Tucker, M.     Conference with C. Harvick regarding FTI information       0.2       90.00
                          for suit on HMA Sales.




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Date       Consultant     Description                                                 Hours       Fees

IP/10-90/Ashby Recovery
12/25/2006 Tucker, M.     Review pleadings to file lis pendens and lawsuit on           1.2      540.00
                          HMA Sales; review various e-mails on same and
                          provide comments.

12/26/2006 Evans, J.      Organize and create a binder of misc. financial docs          1.0       50.00
                          regarding the sale of Royal Hotel.

12/26/2006 Harvick, C.    Final review of Diversified Trust Deed Fund's                 0.4      150.00
                          opposition to application of employment of Beadle,
                          McBride, Evan & Reeves, LLP as "ordinary course
                          accountants", Harvick declaration and send signed
                          declaration.

12/26/2006 Harvick, C.    Review schedule tracing 10-90 funds and support               0.9      337.50
                          detail for payments directly to HMA Sales and
                          compare to HMA Sales accounting detail.

12/26/2006 Harvick, C.    Review list of loans guaranteed by J. Milanowski and          0.7      262.50
                          T. Hantges to identify litigation exposure, prepare e-
                          mail requesting updated information from Debtor and
                          discuss same with M. Tucker.

12/26/2006 Harvick, C.    Continue review of various HMA Sales documents                1.6      600.00
                          (title report, audits, financial statements, tax filings,
                          operating agreement etc.) received from Investment
                          Partners.

12/26/2006 Harvick, C.    Review of HMA Sales Settlement Statements and                 1.2      450.00
                          Purchase and Sale Agreement for the Royal Hotel.

12/26/2006 Harvick, C.    Discuss HMA Sales issues and objection to Beadle              0.7      262.50
                          McBride with M. Levinson and M. Tucker.

12/26/2006 Harvick, C.    Review Diversified Trust Deed Fund's opposition to            0.9      337.50
                          application of employment of Beadle, McBride, Evan
                          & Reeves, LLP as "ordinary course accountants",
                          Harvick declaration and various e-mails regarding
                          same; participate in call with A. Loraditch to discuss
                          changes.

12/26/2006 Smith, S.      Organize documents received from A. Loraditch                 1.5      142.50
                          regarding HMA Sales lawsuit by Great White.

12/26/2006 Tucker, M.     Conference with M. Levinson on various case issues            0.3      135.00
                          including HMA Sales suit, Beadle employment, etc.

12/26/2006 Tucker, M.     Review issues for Beadle firm being employed as               1.1      495.00
                          ordinary course professional and review objection to
                          be filed.

12/26/2006 Tucker, M.     Review HMA Sales documents provided by HMA                    1.9      855.00
                          Sales and information about the potential sale closing;
                          draft and respond to various e-mails on lis pendens.

12/26/2006 Tucker, M.     Discuss HMA Sales issues and objection to Beadle              0.7      315.00
                          McBride with C. Harvick and M. Levinson.

12/26/2006 Tucker, M.     Review e-mail from A. Loraditch on title company              0.3      135.00
                          information and related e-mails on HMA Sales lawsuit.

12/27/2006 Harvick, C.    Participate in call with M. Tucker, M. Levinson, J.           0.8      300.00
                          Hermann, A. Loraditch and B. Olson to discuss HMA
                          Sales issues and recent developments and next steps.


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IP/10-90/Ashby Recovery
12/27/2006 Harvick, C.    Review HMA Sales temporary restraining order                 0.8      300.00
                          application, E. Monson support Declaration, various
                          order shortening time drafts and e-mails regarding
                          same.

12/27/2006 Harvick, C.    Review final HMA Sales temporary restraining order           0.2       75.00
                          filings and save to network.

12/27/2006 Harvick, C.    Draft and send e-mail to Debtor requesting (for the          0.3      112.50
                          second time) additional support for 10-90 tracing
                          analysis.

12/27/2006 Harvick, C.    Review various e-mails pertaining to action against          0.2       75.00
                          HMA Sales.

12/27/2006 Harvick, C.    Review case docket for recent filings related to the         0.3      112.50
                          Plan and HMA Sales.

12/27/2006 Tucker, M.     Review and comment on pleadings for temporary                2.6    1,170.00
                          restraining order in HMA Sales litigation along with
                          declarations of A. Loraditch and E. Monson. Review
                          various related emails and review preliminary HMA
                          Sales closing statement.

12/27/2006 Tucker, M.     Prepare for and participate in conference call with M.       1.1      495.00
                          Levinson, J. Hermann, A. Loraditch, B. Olson and C.
                          Harvick regarding next steps on HMA Sales lawsuit
                          and temporary restraining order.

12/28/2006 Harvick, C.    Review of Protective Order of Investment Partners            0.5      187.50
                          and USA Commercial Mortgage documents held at
                          the USA Commercial Mortgage and e-mails regarding
                          same.

12/28/2006 Harvick, C.    Discussion with S. Smith regarding the retention of          0.3      112.50
                          Beadle McBride, Evans and Reeves LLP.

12/28/2006 Harvick, C.    Review e-mails regarding USA Commercial Mortgage             0.5      187.50
                          e-mail search process, discuss same with A. Tsu;
                          discuss same with M. Tucker; send M. Pugsley an e-
                          mail regarding same.

12/28/2006 Harvick, C.    Review HMA Sales data file and resend S. Smith files         0.3      112.50
                          and request detail of tracing exercise. Original e-mails
                          were bounced back.

12/28/2006 Harvick, C.    Participate in call with J. Hermann, M. Levinson and         1.8      675.00
                          M. Tucker regarding HMA Sales order and next steps.

12/28/2006 Harvick, C.    Review Articles of Incorporation, Bylaws and Board           0.5      187.50
                          Meeting minutes for USA Commercial Real Estate
                          Group to identify other parties associated with
                          Investment Partners and understand affiliate
                          relationships.

12/28/2006 Harvick, C.    Review R. Charles summary of HMA Sales court                 0.5      187.50
                          hearing and participate in call with M. Levinson to
                          discuss same.

12/28/2006 Harvick, C.    Review 10-90 Colt revised Borrower History Reports           0.5      187.50
                          provided by Debtor.




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IP/10-90/Ashby Recovery
12/28/2006 Harvick, C.       Discussion with S. Smith regarding the production of      0.5      187.50
                             support detail for the tracing of 10-90.

12/28/2006 Tucker, M.        Participate in conference call with M. Levinson, J.       1.8      810.00
                             Hermann and C. Harvick regarding HMA Sales,
                             temporary restraining order hearing and next steps
                             and work and discovery needed.

12/28/2006 Tucker, M.        Review R. Charles notes on HMA Sales temporary            0.3      135.00
                             restraining order hearing and several related e-mails
                             on the hearing and follow up activities.

12/28/2006 Tucker, M.        Review fraudulent transfer suit vs. Sal Reale (HMA        0.3      135.00
                             related).

12/28/2006 Tucker, M.        Call to R. Worthen to discuss status of HMA Sales         0.2       90.00
                             motions and issues.

12/29/2006 Tucker, M.        Review R. Charles comments on motion for                  0.2       90.00
                             prejudgment writ of attachment.

12/29/2006 Tucker, M.        Review draft protective order on documents and            2.1      945.00
                             discuss same with E. Monson, A. Brinkerhoff and M.
                             Levinson; follow up discussion with J. Hermann and
                             M. Levinson on same to protect Diversified Trust
                             Deed Fund.

12/29/2006 Tucker, M.        Review Beadle stipulation for employment. Review          0.2       90.00
                             revised version of motions and declaration and
                             related e-mails on HMA Sales writ of attachment.

12/29/2006 Tucker, M.        Review T. Allison revised declaration for prejudgment     0.5      225.00
                             writ of attachment and send comments to E. Monson.

12/29/2006 Tucker, M.        Review draft motion for prejudgment writ of               1.5      675.00
                             attachment and T. Allison declaration. Discuss same
                             with J. Hermann and M. Levinson.

Total for IP/10-90/Ashby Recovery:                                                    58.2    22,746.00

Meetings & Communications with Diversified Committee
12/4/2006   Tucker, M.       Review and respond to e-mail inquiries from               0.3      135.00
                             Diversified Trust Deed Fund investors.

12/5/2006   Tucker, M.       Review several e-mails replies to investor questions.     0.2       90.00

12/6/2006   Tucker, M.       Review e-mails to investors answering questions.          0.1       45.00

12/8/2006   Tucker, M.       Conference with Committee on plan issues, sale            1.7      765.00
                             results and other issues.

12/13/2006 Tucker, M.        Participate in conference call with Committee on case     0.9      405.00
                             status and issues.

12/18/2006 Harvick, C.       Participate in Diversified Trust Deed Fund Committee      1.0      375.00
                             call.

12/18/2006 Tucker, M.        Respond to several investor questions.                    0.2       90.00

12/18/2006 Tucker, M.        Prepare for and participate in Committee conference       1.2      540.00
                             call.



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Date        Consultant       Description                                              Hours       Fees

Meetings & Communications with Diversified Committee
12/20/2006 Tucker, M.        Review several investor questions and replies.             0.2       90.00

12/21/2006 Harvick, C.       Participate in Diversified Trust Deed Fund Committee       1.1      412.50
                             call.

12/21/2006 Tucker, M.        Review and respond to investor questions on taxes.         0.2       90.00

12/21/2006 Tucker, M.        Participate in conference call with Committee.             1.1      495.00

12/22/2006 Harvick, C.       Review of e-mail to Diversified Trust Deed Fund            0.3      112.50
                             investor and address M. Tucker e-mail and review
                             schedule 2 of Compass Asset Purchase Agreement
                             regarding same.

12/27/2006 Harvick, C.       Respond to Diversified Trust Deed Fund member              0.2       75.00
                             inquiry.

12/28/2006 Harvick, C.       Respond to Diversified Trust Deed Fund member              0.3      112.50
                             inquiry regarding tax statements and losses for the
                             year.

Total for Meetings & Communications with Diversified Committee:                         9.0    3,832.50

Plan and Other Restructure Related Work
12/1/2006   Harvick, C.      Send request to S. Smith regarding ERISA                   0.2       75.00
                             documentation for Diversified Trust Deed Fund to
                             facilitate the drafting of Diversified Trust Deed Fund
                             amended operating agreement.

12/1/2006   Harvick, C.      Review request for information from E. Lefever for         0.2       75.00
                             drafting of amended operating agreement and forward
                             to S. Smith.

12/1/2006   Harvick, C.      Review of USA Capital Realty Advisors financial            0.5      187.50
                             statements for 2002-2006 to identify what
                             management fees Diversified Trust Deed Fund paid
                             and what USA Capital Realty Advisors did with the
                             fees collected.

12/1/2006   Harvick, C.      Review of draft Diversified Trust Deed Fund amended        2.6      975.00
                             operating agreement.

12/1/2006   Tucker, M.       Review settlement conference order.                        0.6      270.00

12/1/2006   Tucker, M.       Send e-mail to T. Burr regarding USA Commercial            0.5      225.00
                             Mortgage Trustee selection; discussion on same prior
                             to USA Commercial Mortgage Committee call.

12/3/2006   Harvick, C.      Discussion with M. Tucker on Diversified Trust Deed        0.4      150.00
                             Fund's unsecured claim on USA Commercial
                             Mortgage.

12/3/2006   Harvick, C.      Conference call with M. Levinson, J. Hermann and M.        2.6      975.00
                             Tucker on preparation of Diversified Trust Deed
                             Fund's written settlement offer for mediation
                             conference.

12/3/2006   Tucker, M.       Review letter from D. Cangelosi regarding investor         0.4      180.00
                             follow up from call to order memo on plan issues and
                             her limited objection to sale motion.



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Date        Consultant    Description                                               Hours       Fees

Plan and Other Restructure Related Work
12/3/2006   Tucker, M.    Conference call with M. Levinson, J. Hermann and C.         2.6    1,170.00
                          Harvick on preparation of Diversified Trust Deed
                          Fund's written settlement offer for mediation
                          conference.

12/3/2006   Tucker, M.    Review Diversified Trust Deed Fund's unsecured              1.1      495.00
                          claim on USA Commercial Mortgage and discuss
                          same with C. Harvick.

12/3/2006   Tucker, M.    Review and analysis of first draft of settlement            0.7      315.00
                          proposal drafted by M. Levinson.

12/4/2006   Harvick, C.   Review and forward S. Smith e-mail to E. Lefever            0.2       75.00
                          regarding request for ERISA documentation for
                          purposes of drafting Diversified Trust Deed Fund's
                          post operating agreement.

12/4/2006   Harvick, C.   Review of T. Burr's request for information on              0.4      150.00
                          OakMesa for settlement negotiations, call with S.
                          Smith regarding same.

12/4/2006   Harvick, C.   Prepare for and participate in call with M. Tucker, M.      0.6      225.00
                          Levenson and J. Hermann to discuss final edits to
                          settlement offer.

12/4/2006   Harvick, C.   Review and e-mail draft of Tucker Declaration for           0.4      150.00
                          Mediation Statement to M. Levinson and J. Hermann.

12/4/2006   Harvick, C.   Review and edit draft settlement proposal.                  0.8      300.00

12/4/2006   Harvick, C.   Participate in call with M. Tucker, M. Levenson, J.         1.0      375.00
                          Hermann and R. Worthen (part) to discuss draft
                          settlement offer.

12/4/2006   Harvick, C.   Review and edit second draft settlement proposal.           0.4      150.00

12/4/2006   Harvick, C.   Review of 10-90 loan funding schedule, bank support,        2.8    1,050.00
                          documentation provided by Fiesta Development and
                          summary of LLC ownership interest for the purpose of
                          settlement negotiations.

12/4/2006   Harvick, C.   Participate in call with M. Tucker, M. Levinson and J.      0.5      187.50
                          Hermann to discuss settlement letter.

12/4/2006   Harvick, C.   Prepare detail schedule of Diversified Trust Deed           1.2      450.00
                          Fund's unsecured claim (including review of
                          Diversified Trust Deed Fund Schedule of Assets and
                          Liabilities filed at the Petition Date) for purposes of
                          settlement negotiations.

12/4/2006   Tucker, M.    Review and edit settlement proposal letter to USA           2.1      945.00
                          Commercial Mortgage Committee for mediation;
                          various discussions with J. Hermann, M. Levinson
                          and C. Harvick on same.

12/4/2006   Tucker, M.    Review settlement proposal from USA Commercial              0.2       90.00
                          Mortgage Committee.

12/4/2006   Tucker, M.    Review draft letter to R. Charles and S. Freeman            1.6      720.00
                          regarding settlement proposal and discuss same with
                          M. Levinson, J. Hermann and C. Harvick.




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Date        Consultant    Description                                              Hours       Fees

Plan and Other Restructure Related Work
12/4/2006   Tucker, M.    Review revised settlement proposal to USA                  1.0      450.00
                          Commercial Mortgage with R. Worthen, M. Levenson,
                          J. Hermann and C. Harvick.

12/5/2006   Harvick, C.   Review Diversified Trust Deed Fund financial               4.3    1,612.50
                          statements, audit report, prospectus and other
                          Diversified Trust Deed Fund documents with M.
                          Tucker to prepare for settlement
                          negotiation/mediation with USA Commercial Mortgage.

12/5/2006   Harvick, C.   Review and prepare documentation for M. Tucker             1.3      487.50
                          Declaration for settlement negotiations.

12/5/2006   Harvick, C.   Review of Confidential Mediation Statement of              0.8      300.00
                          Diversified Trust Deed Fund.

12/5/2006   Harvick, C.   Prepare Diversified Trust Deed Fund October                0.5      187.50
                          Committee Report for purposes of documenting the
                          prepaid interest and principal amounts for settlement
                          negotiations.

12/5/2006   Harvick, C.   Review reply to D. Cangelosi opposition and e-mails        0.3      112.50
                          regarding same.

12/5/2006   Tucker, M.    Prepare for mediation including analysis and review        4.9    2,205.00
                          with C. Harvick of the capital accounts and historical
                          activity for support of the unsecured claim and other
                          claimed amounts for potential offsets and claims.

12/6/2006   Harvick, C.   Tieout and document M. Tucker Declaration in               2.2      825.00
                          support of Diversified Trust Deed Fund's Mediation
                          Statement.

12/6/2006   Harvick, C.   Review of second draft of Confidential Mediation           0.9      337.50
                          Statement of the Diversified Committee.

12/6/2006   Harvick, C.   Review of Diversified Trust Deed Fund Prospectus for       0.6      225.00
                          ERISA information and transferor-transferee
                          documents for drafting of Diversified Trust Deed
                          Fund's post-effective operating agreement. Sent
                          findings via e-mail to L. Lefever regarding same.

12/6/2006   Harvick, C.   Finalize M. Tucker Declaration in Support of               1.6      600.00
                          Diversified Trust Deed Fund's Mediation Statement
                          and supporting exhibits.

12/6/2006   Harvick, C.   Participate in call with M. Levinson, M. Tucker and J.     0.3      112.50
                          Hermann to discuss Mediation Statement of
                          Diversified Trust Deed Fund Committee.

12/6/2006   Harvick, C.   Finalize analysis of Diversified Trust Deed Fund's         1.6      600.00
                          financial statements specifically adjusting for
                          allowances to support Diversified Trust Deed Fund's
                          claim.

12/6/2006   Harvick, C.   Prepare exhibits for M. Tucker Declaration in Support      2.5      937.50
                          of Diversified Trust Deed Fund's Mediation Statement.

12/6/2006   Harvick, C.   Review final draft of confidential Mediation Statement     0.3      112.50
                          of the Diversified Trust Deed Fund Committee.




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Date        Consultant    Description                                               Hours       Fees

Plan and Other Restructure Related Work
12/6/2006   Harvick, C.   Prepare analysis of Diversified Trust Deed Fund note        0.7      262.50
                          and interest amounts due to demonstrate the total
                          amount due for Diversified Trust Deed Fund's non-
                          performing loans.

12/6/2006   Harvick, C.   Prepare Summary of Diversified Trust Deed Fund              1.5      562.50
                          Fees and Amounts due and paid pre- and post-
                          petition. Prepare support documentation regarding
                          same.

12/6/2006   Smith, S.     Review M. Tucker Declaration in Support of                  0.5       47.50
                          Diversified Trust Deed Fund's Mediation Statement.

12/6/2006   Tucker, M.    Participate in call with M. Levinson, C. Harvick and J.     0.3      135.00
                          Hermann to discuss Mediation Statement of
                          Diversified Trust Deed Fund Committee.

12/6/2006   Tucker, M.    Draft and edit mediation statement and M. Tucker            4.4    1,980.00
                          Declaration in support of mediation statement;
                          research supporting calculations.

12/7/2006   Tucker, M.    Review e-mail letter from D. Congelosi regarding            0.2       90.00
                          voting yes and no for plan.

12/8/2006   Tucker, M.    Review and edit Diversified Trust Deed Fund                 3.3    1,485.00
                          operating agreement and supplemental plan
                          disclosure documents.

12/10/2006 Tucker, M.     Review various documents and prepare for mediation          4.2    1,890.00
                          hearing.

12/11/2006 Harvick, C.    Review Diversified Trust Deed Funds Post-Effective          2.2      825.00
                          Date Operating Agreement, edit and send to M.
                          Tucker; participate in call with M. Tucker regarding
                          same.

12/11/2006 Harvick, C.    Review Mesirow prepared schedule of Diversified             0.8      300.00
                          Trust Deed Funds' prepaid principal and interest
                          amounts; review and send e-mails regarding same.

12/11/2006 Tucker, M.     Review draft ballot report for USA Commercial               0.4      180.00
                          Mortgage.

12/11/2006 Tucker, M.     Prepare for mediation with USA Commercial                   3.7    1,665.00
                          Mortgage on plan issues.

12/11/2006 Tucker, M.     Conference with M. Levinson and J. Hermann                  0.3      135.00
                          regarding preparation for mediation.

12/11/2006 Tucker, M.     Participate in all Committee call on Plan and balloting     0.9      405.00
                          status and issues.

12/12/2006 Tucker, M.     Participate in mediation and follow up meetings with        4.8    2,160.00
                          Diversified Trust Deed Fund professionals and
                          representatives.

12/12/2006 Tucker, M.     Non working travel to Phoenix from mediation.               1.8      810.00

12/12/2006 Tucker, M.     Prepare for mediation and review of documentation           1.7      765.00
                          and support for Diversified Trust Deed Fund positions.

12/12/2006 Tucker, M.     Non working travel to Las Vegas for mediation.              2.2      990.00



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Date       Consultant     Description                                               Hours       Fees

Plan and Other Restructure Related Work
12/13/2006 Harvick, C.    Review e-mail regarding set-off and claims between          1.1      412.50
                          Diversified Trust Deed Funds and USA Commercial
                          Mortgage.

12/14/2006 Harvick, C.    Conference with M. Tucker regarding Plan and                0.5      187.50
                          confirmation issues.

12/14/2006 Tucker, M.     Conference with M. Levinson on confirmation brief           0.2       90.00
                          issues and status.

12/14/2006 Tucker, M.     Draft e-mail to M. Levinson on confirmation brief           0.9      405.00
                          issues and impact to Diversified Trust Deed Fund and
                          potential reasons or benefits to proceed with plan.

12/14/2006 Tucker, M.     Conference with C. Harvick regarding Plan and               0.5      225.00
                          confirmation issues.

12/15/2006 Harvick, C.    Review and edit USA Commercial Mortgage                     1.0      375.00
                          Unsecured Committee's Brief in support of Plan
                          Confirmation - Prepaid Interest, Set-off and Use of 2%
                          Holdback to Pay Direct Lenders Committee's
                          Professional Fees; discuss same with M. Levinson.

12/15/2006 Harvick, C.    Review and edit Memorandum of Points and                    0.5      187.50
                          Authorities in Support of Confirmation of Debtors'
                          Third Amended Joint Plan of Reorganization.

12/15/2006 Harvick, C.    Prepare for and participate in all hands Committee          1.1      412.50
                          and Debtor call to discuss Confirmation of Plan and
                          Objection Reply Briefs.

12/15/2006 Harvick, C.    Follow-up call to discuss Confirmation of Plan and          0.3      112.50
                          Objection Reply Briefs and schedule with M.
                          Levinson, M. Tucker and J. Hermann.

12/15/2006 Harvick, C.    Review of Reply Brief and set-off and recoupment            0.6      225.00
                          insert and e-mail comments regarding same.

12/15/2006 Harvick, C.    Review of the following documents: Motion to Quash          0.4      150.00
                          Subpoenas and Strike 2004 Examination-Milanowski
                          & Memorandum in Support and Declaration in
                          Support; Liberty Bank Motion to Allow Claim for Voting
                          Purposes (exhibits in support) and Liberty Bank
                          Motion to Shorten Time for Motion to Allow Claim for
                          Voting Purposes (exhibits in support); and Addendum
                          to Milanowski's Memo for Protective Order.

12/15/2006 Harvick, C.    Review e-mails regarding Diversified Trust Deed             0.2       75.00
                          Funds' post-effective date operating agreement.

12/15/2006 Harvick, C.    Reviewed the following Orders: ExParte Order                0.2       75.00
                          Granting Motion for Leave of Court to File Joint Briefs
                          in Support of Confirmation in Excess of 20 pages;
                          ExParte Order Approving Stipulation Submitted under
                          Seal Memorializing Agreement between USA
                          Commercial Mortgage and USA Capital First Trust
                          Deed Fund; Order Requiring Victoria Loob to appear
                          for a 2004 Examination.

12/15/2006 Tucker, M.     Review draft reply briefs to objections including           1.4      630.00
                          sections from Lewis and Roca on prepaid interest and
                          other sections.



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Date       Consultant     Description                                             Hours       Fees

Plan and Other Restructure Related Work
12/15/2006 Tucker, M.     Follow-up call to Confirmation of Plan and Objection      0.3      135.00
                          Reply Briefs and schedule with M. Levinson, C.
                          Harvick and J. Hermann.

12/15/2006 Tucker, M.     Review draft confirmation brief in support of Plan.       0.8      360.00

12/16/2006 Tucker, M.     Review objection to Investment Partners Plan              0.2       90.00
                          objection.

12/17/2006 Tucker, M.     Prepare for confirmation hearing including noting         1.0      450.00
                          relevant objections and gathering documents for
                          hearing.

12/18/2006 Harvick, C.    Participate in all Committee and Debtor meeting to        2.1      787.50
                          discuss confirmation hearing strategy.

12/18/2006 Harvick, C.    Review e-mails and print schedules regarding              0.4      150.00
                          Confirmation of Plan and Objections.

12/18/2006 Harvick, C.    Review and print Responses and Objections to the          0.6      225.00
                          Plan for preparation for the all hands Confirmation
                          Hearing meeting and the Hearing.

12/18/2006 Harvick, C.    Review of support binder for Plan objections and          0.7      262.50
                          various Plan objections.

12/18/2006 Harvick, C.    Review and print Responses and Objections to the          0.6      225.00
                          Plan in preparation for the all hands Confirmation
                          Hearing meeting and the Hearing.

12/18/2006 Harvick, C.    Review Plan and related e-mails to document the           0.9      337.50
                          requirements of Diversified Trust Deed Fund, First
                          Trust Deed Fund and Direct Lenders to pay
                          management fees, servicing fees and professional
                          fees.

12/18/2006 Smith, S.      Organize documents and create binder for                  3.0      285.00
                          confirmation hearing.

12/18/2006 Tucker, M.     Review T. Allison declaration in support of Plan.         0.3      135.00

12/18/2006 Tucker, M.     Review Del Bunch objection to voting, declaration of      0.5      225.00
                          Del Bunch and related motions.

12/18/2006 Tucker, M.     Review motion in limine to disqualify Investment          0.4      180.00
                          Partners Plan objection and declaration of E. Monson.

12/18/2006 Tucker, M.     Review confirmation memorandum in support of Plan.        0.5      225.00

12/18/2006 Tucker, M.     Review and comment on draft confirmation findings of      0.9      405.00
                          facts and order.

12/18/2006 Tucker, M.     Non working travel to Las Vegas for confirmation          2.1      945.00
                          hearing.

12/18/2006 Tucker, M.     Follow up discussion with M. Levinson and J.              0.3      135.00
                          Hermann on Plan issues and conference hearing.

12/18/2006 Tucker, M.     Participate in Debtor and all Committee meeting in        1.7      765.00
                          preparation for confirmation hearing.

12/18/2006 Tucker, M.     Review USA Commercial Mortgage Committee                  0.2       90.00
                          motion in support of Plan and 2% holdback.


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Date       Consultant     Description                                               Hours       Fees

Plan and Other Restructure Related Work
12/18/2006 Tucker, M.     Review final reply brief in support of Plan.                0.6      270.00

12/19/2006 Harvick, C.    Participate in all Committee and Debtor call to discuss     2.2      825.00
                          the Confirmation Hearing and strategy for next day
                          hearings; discuss same with J. Hermann and M.
                          Tucker.

12/19/2006 Smith, S.      Update disclosure statement binder.                         0.3       28.50

12/19/2006 Tucker, M.     Review report on Bunch deposition by L. Schwartzer          0.2       90.00
                          and C. Carlyon.

12/19/2006 Tucker, M.     Participate in Debtor and all Committee meeting on          2.5    1,125.00
                          confirmation issues; discuss same with J. Hermann
                          and C. Harvick.

12/20/2006 Harvick, C.    Review draft Confirmation Order and Findings of Fact.       0.5      187.50

12/20/2006 Harvick, C.    Review draft Confirmation Order and Findings of Fact        0.6      225.00
                          and discuss same with M. Tucker.

12/20/2006 Tucker, M.     Review revised Confirmation Order and findings of           2.7    1,215.00
                          facts including discussion with M. Levinson and
                          sending responses and edits to same and review of
                          numerous e-mails; discuss same with C. Harvick.

12/21/2006 Harvick, C.    Review of Confirmation Order, Plan and other e-             1.1      412.50
                          mailed changes; send comments to Diversified Trust
                          Deed Fund professionals and discuss same with M.
                          Tucker.

12/21/2006 Harvick, C.    Review draft Confirmation Order, Findings of Fact and       2.8    1,050.00
                          Disbursement Agent Agreements and participate in all
                          hands Committee call regarding same.

12/21/2006 Tucker, M.     Participate in Debtor and all Committee conference          2.5    1,125.00
                          call on Confirmation Order findings of facts.

12/21/2006 Tucker, M.     Review revised findings of facts and draft                  1.2      540.00
                          Confirmation Order including e-mail questions and
                          issues to Debtor and Diversified Trust Deed Fund
                          team.

12/21/2006 Tucker, M.     Review additional changes and e-mails on findings of        0.8      360.00
                          fact, Confirmation Order and disbursing agent
                          agreement.

12/21/2006 Tucker, M.     Discuss with C. Harvick his comments on                     0.3      135.00
                          Confirmation Order and Plan.

12/22/2006 Harvick, C.    Review Disbursing Agent Agreements and e-mails              0.4      150.00
                          regarding same.

12/22/2006 Tucker, M.     Review various revisions to findings of fact and draft      0.9      405.00
                          Confirmation Order as well as numerous related e-
                          mails.

12/26/2006 Harvick, C.    Review of Diversified Trust Deed Fund Post Effective        0.5      187.50
                          Date Operating Agreement and send e-mails
                          requesting information and contacts for director and
                          officer insurance.




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Date       Consultant         Description                                                Hours          Fees

Plan and Other Restructure Related Work
12/26/2006 Harvick, C.        Left message for T. Burr to call me regarding                0.1          37.50
                              transition items.

12/26/2006 Tucker, M.         Analysis of $18.9 million unpaid principal and interest      0.8         360.00
                              calculation for proof of claim.

12/26/2006 Tucker, M.         Respond to meeting with G. Berman of DSI regarding           0.1          45.00
                              litigation strategy for USA Commercial Mortgage.

12/27/2006 Harvick, C.        Participate in call with T. Burr to discuss post USA         0.2          75.00
                              Commercial Mortgage and Diversified Trust Deed
                              Fund operations.

12/27/2006 Harvick, C.        Review and discuss the calculation of interest for           0.4         150.00
                              Diversified Trust Deed Fund's $18.9 million of diverted
                              funds and various reports (loan status, collections,
                              hold funds) with L. Peterson.

12/27/2006 Harvick, C.        Review and edit revised calculation of interest on           0.5         187.50
                              $18.9 million of diverted principal, send comments to
                              M. Tucker and L. Peterson regarding same.

12/27/2006 Harvick, C.        Prepare for and meet with R. Charles, S. Freeman, G.         1.4         525.00
                              Berman, M. Sorenson, M. Levinson (part) and M.
                              Tucker to discuss current and Post Effective Date
                              action against Investment Partners and joint transition
                              concerns.

12/27/2006 Harvick, C.        Review e-mails regarding USA Commercial Mortgage             0.3         112.50
                              employees and print KERP plan and Post Effective
                              Date Diversified Trust Deed Fund workplan.

12/27/2006 Peterson, L.       Discussion with C. Harvick regarding calculation of          0.2          59.00
                              interest on $18.9 million of diverted principal.

12/27/2006 Tucker, M.         Prepare for and meet with S. Freeman, R. Charles, G.         1.4         630.00
                              Berman (DSI), M. Sorenson (DSI) and C. Harvick
                              regarding transition issues and litigation coordination.

12/28/2006 Harvick, C.        Review T. Burr e-mail requesting information                 0.5         187.50
                              regarding status of collections and prepare schedule
                              summarizing Diversified Trust Deed Fund loans.

12/28/2006 Tucker, M.         Follow up from meeting with USA Commercial                   1.2         540.00
                              Mortgage Committee professionals and DSI on
                              transition issues and planning.

12/29/2006 Tucker, M.         Work on and identify transition issues for effective         1.1         495.00
                              date.

Total for Plan and Other Restructure Related Work:                                       136.3      55,462.50

Grand Total                                                                              346.7   $135,789.00




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                               USA Capital Diversified Trust Deed Fund
                                          Summary Exhibit D
                              Professional Expenses Incurred by Category
                             For the Period of 12/1/2006 through 12/31/2006
Consultant           Date Incurred Description of Expense                                          Amount

Airfare
Tucker, M.              12/7/2006    Air Fare from Phoenix, AZ on 12/7/06 to Las Vegas,              317.10
                                     NV.

Tucker, M.              12/7/2006    Air Fare from Las Vegas, NV on 12/7/06 to Phoenix,              121.80
                                     AZ.

Tucker, M.             12/12/2006    Air Fare from Phoenix, AZ on 12/12/06 to Las                    132.10
                                     Vegas, NV returned on 12/12/06.

Tucker, M.             12/18/2006    Air Fare from Phoenix, AZ on 12/18/06 to Las                    122.55
                                     Vegas, NV - one way ticket, returned 12/20/06.

Harvick, C.            12/19/2006    Air Fare from Phoenix on 12/19/06 to Las Vegas                  245.10
                                     returned on 12/20/06.

Tucker, M.             12/20/2006    Air Fare from Las Vegas, NV on 12/20/06 to                      121.80
                                     Phoenix, AZ - one way ticket, to LAS on 12/18/06.

Total for Airfare:                                                                                 1,060.45

Lodging
Harvick, C.            12/20/2006    Hotel - in Las Vegas, NV for 1 Night, Check In                  119.85
                                     12/19/06 - Check Out 12/20/06.

Tucker, M.             12/20/2006    Hotel in Las Vegas, NV for 2 Nights, Check In                   239.70
                                     12/18/06 - Check Out 121/20/06.

Total for Lodging:                                                                                   359.55

Meals
Tucker, M.              12/7/2006    Dinner.                                                          11.81

Tucker, M.             12/12/2006    Dinner.                                                          16.17

Harvick, C.            12/19/2006    Lunch.                                                           11.00

Tucker, M.             12/19/2006    Dinner with J. Hermann and C. Harvick.                          147.15

Tucker, M.             12/19/2006    Breakfast.                                                       32.09

Tucker, M.             12/20/2006    Lunch.                                                           21.50

Tucker, M.             12/20/2006    Dinner.                                                          27.08

Tucker, M.             12/20/2006    Breakfast.                                                       27.59

Harvick, C.            12/20/2006    Dinner.                                                           8.49

Harvick, C.            12/20/2006    Breakfast.                                                        6.00



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Consultant         Date Incurred Description of Expense                                           Amount

Total for Meals:                                                                                    308.88

Other
Harvick, C.          12/18/2006    Attend court hearing via telephone on December 15.                 51.00

Harvick, C.          12/18/2006    Internet Provider Charges - PHX airport on 12/18/06                 5.00

Harvick, C.          12/19/2006    Fax charges for document to client.                                24.00

Tucker, M.           12/20/2006    Internet Provider Charges - Las Vegas on 12/18/06-                 23.98
                                   12/19/06

Total for Other:                                                                                    103.98

Transportation
Tucker, M.            12/7/2006    Mileage home to PHX airport and return - 14 Miles.                  6.23

Tucker, M.            12/7/2006    Parking - 1 day at PHX airport.                                    20.00

Tucker, M.            12/7/2006    Taxi - airport to court house                                      35.00

Tucker, M.           12/12/2006    Mileage home to PHX airport and return - 14 Miles.                  6.23

Tucker, M.           12/12/2006    Parking - 1 day at PHX airport.                                    20.00

Harvick, C.          12/18/2006    PHX airport parking to deliver binder to M. Tucker.                 4.00

Tucker, M.           12/18/2006    Mileage home to PHX airport and return - 14 Miles.                  6.23

Tucker, M.           12/18/2006    Taxi - Las Vegas airport to law firm.                              16.00

Harvick, C.          12/20/2006    Parking - 2 days at PHX airport 12/19/06-12/20/06.                 40.00

Tucker, M.           12/20/2006    Parking - 2 days PHX airport 12/18/06-12/20/06.                    44.00

Total for Transportation:                                                                           197.69

Grand Total                                                                                      $2,030.55




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